      Case: 1:07-cr-00047-DMB-DAS Doc #: 56 Filed: 07/16/07 1 of 2 PageID #: 85




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION


UNITED STATES OF AMERICA                                                               PLAINTIFF


VERSUS                                                       CIVIL ACTION NO. 1:07CR47-P-D


CARL MARTIN ADAMS, et al                                                             DEFENDANT


                                              ORDER

       This cause is before the Court on defendant Adams’ Motion for Continuance of Trial Date

[53]. The Court, having reviewed the motion and being otherwise fully advised in the premises,

finds as follows, to-wit:

       This case is currently set for trial on Monday, August 20, 2007. Adams’defense counsel,

Carrie Jourdan, serves as the public defender for Lowndes County Circuit Court. Ms. Jourdan

represents in the motion that the August 2007 term of said court will still be in session on the above

date. Her responsibilities as public defender will severely constrain counsel’s ability to engage in

necessary trial preparation for the above-referenced case. The Court is advised that the government

does not oppose the requested continuance.

       These circumstances enable the Court to exclude, pursuant to 18 U.S.C. § 3161(h)(8)(A), the

period of delay from August 20, 2007 until the new trial date to be set in this matter. The time is

excludable under subsection (h)(8)(A) because, given defense counsel’s state court obligations and

the document intensive nature of the case, a continuance is required to ensure defense counsel’s

availability and adequate preparation at the trial of this cause. Therefore, the Court finds that the

ends of justice served by the granting of this continuance outweigh the best interests of the public
     Case: 1:07-cr-00047-DMB-DAS Doc #: 56 Filed: 07/16/07 2 of 2 PageID #: 86




and the defendants in a speedy trial.

       IT IS, THEREFORE, ORDERED AND ADJUDGED that

       1.       The defendant’s Motion for Continuance of Trial Date [53] is GRANTED;

       2.      That the trial of this matter is continued as to all defendants until Monday, October

               22, 2007 at 9:00 a.m. in the United States District Courthouse in Greenville,

               Mississippi; multiple voir dire is to be held at the same time and place;

       3.      That the delay from August 20, 2007 until October 22, 2007 is excluded as set out

               above;

       4.      That the deadline for filing pretrial motions is October 1, 2007;

       5.      That the deadline for submitting a plea agreement is October 8, 2007.

       SO ORDERED, this the 16th day of July, 2007.


                                                     /s/ W. Allen Pepper, Jr.
                                                     W. ALLEN PEPPER, JR.
                                                     UNITED STATES DISTRICT JUDGE
